                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF VIRGINIA
                                   BIG STONE GAP DIVISION

UNITED STATES OF AMERICA                                      )
                                                              )
          v.                                                  )                 Case No. 2:18-CR-03
                                                              )                 JUDGE JONES
LEILA VARETTA HECTOR                                          )



                       UNITED STATES’ SENTENCING MEMORANDUM


        Comes now the United States of America, by and through Thomas T. Cullen, United States

Attorney for the Western District of Virginia, and files this sentencing memorandum for the

Court’s consideration in the above-referenced matter scheduled for sentencing on December 19,

2019.

                                            Statement of the Case

Summary of the Facts

        A summary of the defendant’s offense conduct is contained in the Presentence Report

(PSR).1 (Doc. 632, PSR, Sealed Document, at ¶¶ 7-32.) As established by the government at

trial, Hector was a knowing and meaningful participant in a large drug trafficking conspiracy

involving her husband and numerous co-conspirators from November 1, 2016, through March 1,

2018. While the organization trafficked large quantities of crystal ice methamphetamine, other

controlled substances were distributed by this organization, including heroin, oxycodone, cocaine,

and alprazolam.




1
 The United States expects to utilize the PSR as an exhibit at the sentencing hearing. The PSR is filed with the
Court under seal as Doc. 632.

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       Hector and her husband were acquiring these drugs from numerous sources of supply and

redistributing them in Georgia, Tennessee, Kentucky, and southwest Virginia. The primary

objective of the conspiracy was to make money, and Hector held the purse strings. She supplied

and received money for drug transactions, in addition to accompanying her husband, Dykes, on

distribution trips. (See, e.g., Trial Ex. 62B, 62D, 62E, 63).

       Evidence presented at trial demonstrated that Hector was a knowing participant in this

distribution and financial activity. She traveled with Dykes regularly to distribute drugs and to

meet up with sub-distributors. She kept track of customer tabs, instructing Dykes how much

money to collect from customers he was planning to meet. (See, e.g., Trial Ex. 62B, 62D, 62E,

63). On the date of their arrest, Hector accompanied Dykes to make a number of narcotics sales

and was apprehended with drugs and drug proceeds on her person.

       The conspiracy overall was extensive.         During the course of the investigation, law

enforcement officers participated in nine undercover purchases. Eight of them involved hand-to-

hand transactions with agents; one involved a civilian confidential informant. On the date of their

arrest, agents seized more than $28,000 worth of controlled substances from them, to include

crystal ice methamphetamine, heroin, cocaine, marijuana, and a variety of prescription drugs.

       These transactions reflect only a small part of the conspiratorial activity. The organization

operated for 16 months and involved much more than nine undercover buys. It spanned numerous

states, including Georgia, Kentucky, Tennessee, and Virginia and required numerous sources of

supply. It was a well-organized operation, by which both Hector and Dykes measurably profited.

In total, it resulted in distribution of a minimum of 8,840.0882 kilograms of converted drug weight.

This drug weight is a conservative estimate, representing only a portion of trafficking activity

attributable to defendants in this case.



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The Presentence Report

         Hector was convicted of 2 counts of the superseding indictment, including conspiracy to

distribute controlled substances, in violation of 21 U.S.C. §§ 841 and 846. The conspiracy count

carries a mandatory minimum term of incarceration of ten years. Hector’s guidelines based on

drug weight are 121 to 151 months, based on a criminal history category of I and an offense level

of 32.

         Hector filed a motion for downward departure, claiming that she is entitled to safety valve

protection under 18 U.S.C. § 3553(f) and U.S.S.G. § 5C1.2. The government objects to the

downward       variance,      and   disagrees.    There    is   evidence    that   Hector    was    a

supervisor/manager/leader in this conspiracy, given her role as its money manager. And she did

not provide to the government, truthfully, all information and evidence she had concerning the

conspiracy when she was interviewed on March 1, 2018. Hector lied to authorities on the date of

her arrest, and made little effort to answer questions truthfully. During the course of the interview,

Hector maintained that she had no knowledge of distribution activities. She is ineligible for safety

valve relief as a result.

                            The United States= Sentencing Recommendation

         As Section 3553(a) provides, “the court shall impose a sentence sufficient, but not greater

than necessary, to comply with the purposes set forth in paragraph (2) of the subsection.” 18

U.S.C. § 3553(a). Those purposes include the need for the sentence imposed to reflect the

seriousness of the offense, to promote respect for the law, to provide just punishment, and to afford

adequate deterrence to criminal conduct. 18 U.S.C. § 3553(a)(2).

         Here, the starting point for the Court’s application of § 3553(a) is the advisory guidelines

imprisonment range. With a criminal history category of I and an offense level of 32, Hector’s



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guideline range is 121 to 151 months. Consideration of the sentencing factors set forth in Section

3553(a) demonstrate that a sentence of imprisonment within the guideline range is appropriate and

warranted in this case.

       The Court must evaluate the nature and circumstances of the offense and the history and

characteristics of the defendant.    Hector stands convicted of intentionally participating in a

significant drug trafficking conspiracy. The conspiracy involved a total of eleven defendants and

numerous unindicted individuals who obtained and trafficked methamphetamine in Georgia,

Tennessee, Kentucky, and southwest Virginia. As set forth in the PSR, as well as the extensive

evidence the Court heard at the jury trial convened September 16-20, 2019, Hector supported and

facilitated the drug trafficking activity throughout the course of the conspiracy and acted as its

money manager.      A principal co-conspirator described her as holding the purse strings, as

reflected in her text communications with Dykes. Theirs was a joint venture, as husband and

wife. Success of the conspiracy resulted in large part from her contributions.

       A guideline sentence is warranted for general deterrence and to protect the public from

further crimes related to this conspiracy. 18 U.S.C. § 3553(a)(2)(B), (C). Distribution of this

quantity and number of substances is a serious offense posing significant risk to the general public.

By his own testimony, and additional evidence the Court heard at trial, Dykes admitted to

distributing significant quantities of narcotics for months on end, along a corridor between Virginia

and Georgia. Hector was involved with him in these endeavors from beginning to end. The

Court is well aware of the extent of the methamphetamine problem in Southwest Virginia and its

radiating impact throughout the region. A guideline sentence is warranted to address the extent

to which Hector and her husband have contributed to these societal problems and to promote

respect for the federal drug laws in this region generally.



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       Wherefore, based on the foregoing and considering applicable sentencing factors, the

United States submits that a sentence within the guideline range is appropriate in this case.

                                              Respectfully submitted,

                                              THOMAS T. CULLEN
                                              United States Attorney

                                              By:    s/M. Suzanne Kerney-Quillen
                                                      M. Suzanne Kerney-Quillen
                                                      Special Assistant United States Attorney
                                                      Virginia Bar No. 66633

                                                      s/Kari K. Munro
                                                      Kari K. Munro
                                                      Assistant United States Attorney
                                                      Virginia Bar No. 65770
                                                      United States Attorney’s Office
                                                      180 West Main Street, Suite B19
                                                      Abingdon, Virginia 24210
                                                      276-628-4161
                                                      276-628-7399
                                                      USAVAW.ECFAbingdon@usdoj.gov



                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 19, 2019, a copy of the foregoing Sentencing
Memorandum was filed electronically. Notice of this filing will be sent by operation of the
Court’s electronic filing system to all parties indicated on the electronic filing receipt. All other
parties will be served by regular U.S. mail. Parties may access this filing through the Court’s
electronic filing system.

                                              s/M. Suzanne Kerney-Quillen
                                              M. SUZANNE KERNEY-QUILLEN
                                              Special Assistant U.S. Attorney




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